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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

 ROBERT CHENAULT and LANA CHENAULT, )
                                          )
                              Plaintiffs, )
      v.                                  ) CASE NO. 3:12-cv-00144-RLY-WGH
 JAMES GORIS, M.D., DEACONESS             )
 HOSPITAL, INC., d/b/a DEACONESS          )
 GATEWAY HOSPITAL, ORTHOPAEDIC            )
 ASSOCIATES, INC., and WILLIAM            )
 MICHAEL ROBERTS, M.D.,                   )
                              Defendants. )

                           AMENDED COMPLAINT FOR DAMAGES

        Plaintiffs Robert Chenault and Lana Chenault, by counsel, for their complaint for

 damages against defendants James Goris, M.D., Deaconess Hospital, Inc., d/b/a Deaconess

 Gateway Hospital (hereinafter “Deaconess”), Orthopaedic Associates, Inc., and William Michael

 Roberts, M.D., allege and state that:

        1.      Robert Chenault and Lana Chenault are lawfully married.

        2.      Defendants James Goris, M.D., Deaconess, Orthopaedic Associates, Inc., and

 William Michael Roberts, M.D., are qualified health care providers under Indiana’s Medical

 Malpractice Act.

        3.      Plaintiffs Robert and Lana Chenault are citizens of the State of Kentucky. James

 Goris, M.D., and William Michael Roberts, M.D., are citizens of the State of Indiana.

 Defendants Deaconess and Orthopaedic Associates, Inc., are incorporated in the State of Indiana

 with their respective principal place of business in the State of Indiana. The amount in

 controversy, without interest and costs, exceeds the sum or value specified by 28 U.S.C. § 1332.




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         4.      Pursuant to Indiana law, this claim was presented to a medical review panel which

 issued an opinion on or about July 3, 2012. A copy of the opinion as it relates to these

 defendants is attached as Exhibit 1.

         5.      Between March 3, 2008 and March 27, 2008, Robert Chenault was under the care

 and treatment of James Goris, M.D.; Deaconess, by its agents and employees; Orthopaedic

 Associates, Inc., by its agents and employees; and James Michael Roberts, M.D.

         6.      The defendants’ care and treatment of Robert Chenault was substandard.

         7.      As a direct and proximate result of the substandard care by James Goris, M.D.;

 Deaconess, by its agents and employees; Orthopaedic Associates, Inc., by its agents and

 employees, and William Michael Roberts, M.D., Robert Chenault suffered damages including,

 but not limited to, injury and impairment; acute kidney failure; additional medical, hospital and

 other expenses; and emotional distress.

         8.      As a direct and proximate result of the substandard care by James Goris, M.D.;

 Deaconess, by its agents and employees; Orthopaedic Associates, Inc., by its agents and

 employees; and James Michael Roberts, M.D., Lana Chenault suffered damages including, but

 not limited to, incurring hospital, medical and other expenses on behalf of her husband Robert

 Chenault, emotional distress, and impairment of those rights and privileges known as

 consortium.

         WHEREFORE, Plaintiffs Robert Chenault and Lana Chenault, by counsel, respectfully

 pray for damages against the defendants, jointly and severally, in an amount which will fully and

 fairly compensate them for their injuries and damages, for the costs of this action, trial by jury,

 and for all other just and proper relief.




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                                     Respectfully Submitted,

                                     GARAU GERMANO HANLEY & PENNINGTON, P.C.


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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was served upon the

 following by ECT, this 10th day of December, 2012:

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    Attorney For: Deaconess Health System a/k/a Deaconess Hospital, Inc., d/b/a Deaconess
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                                     /s/Deborah K. Pennington




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